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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION

FITNESS ANYWHERE LLC,
                                                Case No. 19-cv-04155
              Plaintiff,
                                                Judge John Z. Lee
v.
                                                Magistrate Judge Sheila M. Finnegan
95SP_KK, et al.,
              Defendants.


                     NOTICE OF DISMISSAL UNDER RULE 41(a)(1)

       Pursuant to Rule 41(a)(1) of the Federal Rules of Civil Procedure, Plaintiff Fitness

Anywhere LLC (“TRX” or “Plaintiff”) hereby dismisses this action with prejudice against the

following Defendants:

                 Defendant Name                                 Line No.
                      Balabele                                      8
                 best_wish_2018                                     9
                    deepbluest6                                    14
                     Djmdghkjx                                     15
                   ever_fortunate                                  19
                  golden_melody                                    28
                  J Bryant Fitness                                 36
        Lights Mountain GYM Gear Store                             43
                     Skangduke                                     69
                skdk sporting store                                70
                       Tjkjds                                      76
                  Yangyuwakaka                                     86
                     yongfa423                                     88
                    Yougle Store                                   89
               Zanla Sporting Store                                95
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Dated this 30th day of August 2019.   Respectfully submitted,

                                      /s/ RiKaleigh C. Johnson
                                      Amy C. Ziegler
                                      Justin R. Gaudio
                                      RiKaleigh C. Johnson
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